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                            JUDGE KATHLEEN CARDONE
                      UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS                            2[     r
                                                                                            i   21

BRANDON CALLIER,                                   §
Plaintiff,                                         §
                                                   §
V.                                                 §
                                                   §
SunPath LTD, National Car Cure LLC,               §
Northcoast Warranty Services, Inc., and John      §
Does 1-4                                          §
Defendants




                               Plaintiff's Original Complaint

                                              Parties

1.   The Plaintiff is Brandon Callier, a natural person, and was present in Texas for all

     calls, in this case in El Paso County.

2. SunPath Ltd. is a Delaware corporation and can be served via registered agent

     Registered Agent Solutions, Inc., 155 Office Plaza Drive, Suite A, Tallahassee,

     Florida 32301.

3.   Northcoast Warranty Services, Inc. is a Delaware corporation and can be served via

     registered agent Corporation Service Company, 1201 Hays Street, Tallahassee,

     Florida 32301.

4. National Care Cure, LLC is a Florida corporation and can be served via registered

     agent Zander Collins & Smith, at 1665 Palm Beach Lakes BLVD STE 215, West

     Palm Beach, FL 33401.

5.   John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.
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                                JURISDICTION AND VENUE

6.   Jurisdiction. This Court has federal-question subject matter jurisdiction over

     Plaintiff's TCPA claims pursuant to 28 U.S.C.      §   1331 because the TCPA is a federal

     statute. Mims v. Arrow Fin.   Servs.,   LLC, 565 U.S. 368, 372 (2012). This Court has

     supplemental subject matter jurisdiction over Plaintiff's claim arising under Texas

     Business and Commerce Code 305.053 because that claim arises from the same

     nucleus of operative fact, i.e., Defendants' telemarketing robocalls to Plaintiff; adds

     little complexity to the case; and doesn't seek money damages, so it is unlikely to

     predominate over the TCPA claims.

7.   Personal Jurisdiction. This Court has general personal jurisdiction over the

     defendant because they have repeatedly placed calls to Texas residents, and derive

     revenue from Texas residents, and they sell goods and services to Texas residents,

     including the Plaintiff.

8.   Venue. Venue is proper in this District pursuant to 28 U.S.C.       §   1391(b)(l)-(2)

     because a substantial part of the events giving rise to the   claimsthe calls and sale of
     goods and services directed at Texas residents, including the Plaintiffoccurred in

     this District and because the Plaintiff resides in this District. Residing in the Western

     District of Texas when he received a substantial if not every single call from the

     Defendants that are the subject matter of this lawsuit.

9.   This Court has venue over the defendants because the calls at issue were sent by or on

     behalf of the above named defendants to the Plaintiff, a Texas resident.

     THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

     227
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10. In 1991, Congress enacted the     TCPA in response to a growing number of consumer

   complaints regarding telemarketing.

11. The   TCPA makes it unlawful "to make any call (other than a call made for emergency

   purposes or made with the prior express consent of the called party) using an

   automatic telephone dialing system or an artificial or prerecorded voice ... to any

   telephone number assigned to a ... cellular telephone service." 47 U.S.C.                    §


   227(b)(1 )(A)(iii).

12. The   TCPA makes it unlawful "to initiate any telephone call to any residential

   telephone line using an artificial or prerecorded voice to deliver a message without

   the prior express consent of the called party, unless the call is initiated for emergency

   purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

   the United States, or is exempted by rule or order" of the Federal Communication

   Commission ("FCC"). 47 U.S.C.         §    227(b)(1)(B).

13. The TCPA provides a private cause             of action to persons who receive calls in violation

   of § 227(b). 47 U.S.C.    §   227(b)(3).

14. Separately, the   TCPA bans making telemarketing calls without a do-not-call policy

   available upon demand. 47 U.S.C.           §   227(c); 47 C.F.R.   §   64.1200(d)(1).'

15. The TCPA provides a private cause of action to persons who receive calls in

   violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C.                  §   227(c)(5).

16. According to findings   of the FCC, the agency vested by Congress with authority to

   issue regulations implementing the TCPA, automated or prerecorded telephone calls

   are a greater nuisance and invasion of privacy than live solicitation calls and can be


'See  Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
(codifying a June 26, 2003 FCC order).
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   costly and inconvenient.

17. The FCC also recognizes that "wireless customers are charged for incoming calls

   whether they pay in advance or after the minutes are used." In re Rules and

   Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd. 14014,

   14115J 165 (2003).

18. The FCC requires "prior express written consent" for all autodialed or prerecorded

   telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

   consumer's written consent to receive telemarketing robocalls must be signed and be

   sufficient to show that the consumer: (1) received clear and conspicuous disclosure

   of the consequences of providing the requested consent, i.e., that the consumer will

   receive future calls that deliver prerecorded messages by or on behalf of a specific

   seller; and (2) having received this information, agrees unambiguously to receive such

   calls at a telephone number the consumer designates. In addition, the written

   agreement must be obtained without requiring, directly or indirectly, that the

   agreement be executed as a condition of purchasing any good or service.

19. In the Matter   of Rules & Regulations Implementing the   Tel.   Consumer Prot. Act of

   1991, 27 FCC Red. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks

   omitted). FCC regulations "generally establish that the party on whose behalf a

   solicitation is made bears ultimate responsibility for any violations." In the Matter of

   Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC

   Red. 12391, 12397 ¶ 13 (1995).

20. The FCC confirmed this principle in 2013, when it explained that "a seller ... may be

   held vicariously liable under federal common law principles of agency for violations
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   of either section 227(b) or section 227(c) that are committed by third-party

   telemarketers." In the Matter of the Joint Petition Filed by Dish Network, LLC, 28

   FCC Rcd. 6574, 6574 ¶     1   (2013).

21. Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

   F.3d 946, 951    52 (9th Cir. 2009).

22. A corporate officer involved in the telemarketing at issue may be personally liable

   under the TCPA. E.g, Jackson Five Star Catering Inc.      v.   Beason, Case No. 10-

   10010, 2013 U.S. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8,2013) ("MIany

   courts have held that corporate actors can be individually liable for violating the

   TCPA where they had direct, personal participation in or personally authorized the

   conduct found to have violated the statute." (internal quotation marks omitted));

   Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415         16 (D. Md. 2011)   ("If

   an individual acting on behalf of a corporation could avoid individual liability, the

   TCPA would lose much of its force.").

                     The Texas Business and Commerce Code 305.053

23. The Texas Business and Commerce code has an analogous portion that is related to

   the TCPA and was violated in this case.

24. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

   subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

   damages.

                                  FACTUAL ALLEGATIONS

25. The Plaintiff has received at least ten calls over 60 days to his cell phone, 915-383-

   4604 without consent and not related to an emergency purpose, selling the products
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   and services of SunPath Ltd. and National Car Cure, LLC for a car warranty through

   broker Northcoast Warranty Services, Inc.

26. The Plaintiff purchased a car warranty from the defendants and was mailed a policy in

   the mail to his home address. The Defendants are listed on page Dl (Exhibit 1) and

   D2 (Exhibit 2) of the policy.

27. Mr. Callier received multiple calls from a variety of spoofed caller ID's that contained

   a pre-recorded message and were initiated using an automated telephone dialing

   system. The calls were on behalf of SunPath LTD, National Car Cure, LLC, and

   Northcoast Warranty Services, Inc. The calls generally had a delay of 3-4 seconds of

   dead air before an audible tone connected the Plaintiff to a representative, indicating

   the calls were initiated using an ATDS. The Plaintiff received at least ten calls in 60

   days.

28. Each and every call was initiated using a spoofed caller ID, and each and every

   telemarketer the Plaintiff spoke with failed to properly identify themselves and the

   parties they were calling on behalf of.

29. "Neighborhood spoofing" designed to trick consumers into picking up the call as it

    appears to be a local call. This call contained a pre-recorded message after a 3-4

    second pause of dead air. Several of the calls used neighborhood spoofing tactics,

    others were real phone numbers from existing callers, innocent victims and businesses

    whose phone numbers were wrongfully appropriated by the defendants.

30. Plaintiff received the following calls from the Defendants (Table A).
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    Date         Time of Call    Phone Number      Name on Caller ID
    19-Nov-19    10:25 AM        915-383-5556      NA
    21-Nov-19     12:46 PM       915-383-1254      NA
    11-Dec-19     3:47 PM        915-383-2503      Romero Chavarri
    16-Dec-19     2:28 PM        915-383-4610      Marl Villanueva

    18-Dec-19     11:14AM        915-383-1861      Manuel Ochoa
    18-Dec-19     8:33 AM        915-383-4742      Maria Barraza
    19-Dec-19     1:11PM         915-383-5469      INIGUEZ
    21-Dec-19     3:50 PM        317-527-9965      Skylar Long
    6-Jan-20      10:52AM        407-272-8548      GValentin
    21-Jan-20     12:59 PM       915-383-5130      Vasquez Cordero

31. Each and every call was placed without the maintenance   of an internal do-not-call

   policy. Each and every call failed to identify the telemarketers and parties they were

   calling on behalf of Each and every call was placed without training their

   agents/employees on the use of an internal do-not-call policy.

32. Mr. Callier has a limited data plan. Incoming text messages chip away at his monthly

   allotment.

33. Mr. Callier has limited data storage capacity on his cellular telephone. Incoming

   telemarketing calls consumed part of this capacity.

34. No emergency necessitated the calls

35. Each call was sent by an ATDS.

36. None of the defendants ever sent Mr. Callier any do-not-call policy.

37. On information and belief, none   of the defendants had a written do-not-call policy

   while it was sending Mr. Callier the unsolicited calls

38. On information and belief, none of the defendants trained its agents engaged in

   telemarketing on the existence and use of any do-not-call list.
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                             Vicarious Liability of the Sellers

39. These parties are vicariously liable under the theories   of actual authority, apparent

   authority, and ratification, and as well as liable because any other result would impair

   the underlying purpose of the TCPA.

40. SunPath Ltd., National Car Cure, LLC and Northcoast Warranty Services, Inc. are

   liable parties as the direct beneficiaries of the illegal telemarketing calls as they stood

   to gain the Plaintiff as a client and quoted the Plaintiff a contract offering their

   products and services.

41. The contract shows that the beneficial parties who were gaining customers were

   National Car Cure, LLC, SunPath Ltd., Northcoast Warranty Services, Inc.



 THE SELLERS SHOULD BE HELD LIABLE TO UPHOLD THE DETERRENT

                         EFFECT AND PURPOSE OF THE TCPA

42. As the court ruled in Jackson v Caribbean Cruise Line, Inc., the defendant sellers

    should be held liable for their violations of the TCPA. Courts have looked at the

   purpose of the TCPA and found that not holding the sellers liable through vicarious

    liability would undermine the purpose of the TCPA.

43. Every entity in the contract for car warranty services should be deemed a beneficiary

    of the calls and held liable for damages under the TCPA under vicarious liability.

    Sellers are in the best position to monitor and police third party telemarketer' s

    compliance with the TCPA and to hold otherwise would leave consumers without an

    effective remedy for telemarketing intrusions.
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INJURY, HARM, DAMAGES, and ACTUAL DAMAGES AS A RESULT OF THE

                                              CALLS

44. Defendant's calls harmed the Plaintiff by causing the very harm that Congress sought

    to preventa "nuisance and invasion of privacy."

45. Defendant's calls harmed the Plaintiff by trespassing upon and interfering with

    Plaintiff's rights and interests in Plaintiff's cellular telephone.

46. Defendant's calls harmed the Plaintiff by trespassing upon and interfering with

    Plaintiff's rights and interests in Plaintiff's cellular telephone line.

47. Defendant's calls harmed the Plaintiff by intruding upon Plaintiff's seclusion.

48. The Plaintiff has been harmed, injured, and damages by the calls including, but not

   limited to:

   Reduced Device Storage space

   Reduced data plan usage

   Invasion of privacy

   Lost time tending to text messages

   Decreased cell phone battery life

   More frequent charging of my cell phone resulting in reduced enjoyment and usage of

   my cell phone

   Reduced battery usage

   Annoyance

   Frustration

   Anger
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                     The Plaintiff's cell phone is a residential number

49. The calls were to the Plaintiff's cellular phone 915-383-4604, which is the Plaintiff's

    personal cell phone that he uses for personal, family, and household use. The Plaintiff

    maintains no landline phones at his residence and has not done so for at least 10 years

    and primarily relies on cellular phones to communicate with friends and family. The

    Plaintiff also uses his cell phone for navigation purposes, sending and receiving

    emails, timing food when cooking, and sending and receiving text messages. The

    Plaintiff further has his cell phone registered in his personal name, pays the cell phone

    from his personal accounts, and the phone is not primarily used for any business

    purpose.

             Violations of the Texas Business and Commerce Code 305.053

50. The actions   of the defendants violated the Texas Business and Commerce Code

    305.053 by placing automated calls to a cell phone which violate 47 USC 227(b). The

    calls by the defendants violated Texas law by placing calls with a pre-recorded

   message to a cell phone which violate 47 USC 227(c)(5) and 47 USC 227(d) and 47

   USC 227(d)(3) and 47 USC 227(e).

51. The calls by the defendants violated Texas law by spoofing the caller ID's per 47

   USC 227(e) which in turn violates the Texas statute.


                               I. FIRST CLAIM FOR RELIEF

    (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                  (Against All Defendants)

        1.        Mr. Callier realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.
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          2.       The foregoing acts and omissions of Defendants and/or their affiliates or

agents constitute multiple violations of the TCPA, 47 U.S.C.         §   227(b)(l)(A), by making

non-emergency telemarketing robocalls to Mr. Callier' s cellular telephone number

without his prior express written consent.

          3.       Mr. Callier is entitled to an award of at least $500 in damages for each

such violation. 47       u.s.c. §   227(b)(3)(B).

          4.        Mr. Callier is entitled to an award of up to $1,500 in damages for each

such knowing or willful violation. 47 U.S.C.        §   227(b)(3).

          5.        Mr. Callier also seeks a permanent injunction prohibiting Defendants and

their affiliates and agents from making non-emergency telemarketing robocalls to cellular

telephone numbers without the prior express written consent of the called party.


                                    II. SECOND CLAIM FOR RELIEF

          (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                        (Against All Defendants)

          6.        Mr. Callier realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.

          7.        The foregoing acts and omissions of Defendants and/or their affiliates or

agents constitute multiple violations of FCC regulations by making telemarketing

solicitations despite lacking:

                    a.       a written policy, available upon demand, for maintaining a do-not-

call list, in violation of 47 C.F.R.      § 64.1200(d)(1);2




2
    See   id.   at 425 (codifying a June 26, 2003 FCC order).
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                  b.     training for the individuals involved in the telemarketing on the

existence of and use of a do-not-call list, in violation of 47 C.F.R.   §   64.1 200(d)(2);3 and,

                  c.      in the solicitations, the name of the individual caller and the name

of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R.       §


64.1 200(d)(4).4

        8.         Mr. Callier is entitled to an award of at least $500 in damages for each

such violation. 47 U.S.C.    §   227(c)(5)(B).

       9.          Mr. Callier is entitled to an award of up to $1,500 in damages for each

such knowing or willful violation. 47     u.s.c. §   227(c)(5).

        10.        Mr. Callier also seeks a permanent injunction prohibiting Defendants and

their affiliates and agents from making telemarketing solicitations until and unless they

(1) implement a do-not-call list and training thereon and (2) include the name of the

individual caller and AFS's name in the solicitations.


        III.THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                     Commerce Code 305.053

        11.        Mr. Callier realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.

        12.        The foregoing acts and omissions of Defendants and/or their affiliates or

agents constitute multiple violations of the Texas Business and Commerce Code

305.053, by making non-emergency telemarketing robocalls to Mr. Callier's cellular

telephone number without his prior express written consent in violation of 47 USC 227 et


 See   id.   at 425 (codifying a June 26, 2003 FCC order).
 See   id.   at 425    26(codifying a June 26, 2003 FCC order).
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seq. The Defendants violated 47 Usc 227(d) and 47 usc 227(d)(3) and 47 usc 227(e)

by using an ATDS that does not comply with the technical and procedural standards

under this subsection.

        13.     Mr. callier is entitled to an award of at least $500 in damages for each

such violation. Texas Business and Commerce Code 305.053(b)

        14.     Mr. callier is entitled to an award of up to $1,500 in damages for each

such knowing or willful violation. Texas Business and Commerce Code 305.053(c).


                                 IV. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Brandon callier prays for judgment against the

defendants jointly and severally as follows:

       A.      Leave to amend this complaint to name additional DOESs as they are

identified and to conform to the evidence presented at trial;

       B.      A declaration that actions complained of herein by Defendants violate the

TCPA and Texas state law;

       c.      An injunction enjoining Defendants and their affiliates and agents from

engaging in the unlawful conduct set forth herein;

       D.      An award of $3000 per call in statutory damages arising from the TCPA

intentional violations jointly and severally against the corporation and individual for

seven calls.

       E.      An award of $1,500 in statutory damages arising from violations of the

Texas Business and commerce code 305.053

       F.      An award to Mr. callier of damages, as allowed by law under the     TPA
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       G.     An award to Mr. Callier of interest, costs and attorneys' fees, as allowed

by law and equity

       H.     Such further relief as the Court deems necessary, just, and proper.




January 24, 2020




Brandon Callier
Pro-se
6336 Franklin Trail
El Paso, TX 79912
NATIONAL CAR CURE
1665 Palm Beach Lakes Blvd., #215                                                                                                                                       Contract Declarations
West Palm Beach, FL 33401
                                                                                                Contract Holder                                                                     Service Contract No.
800-261-0096
                                                                                                    Ana Callier
                                                                                                                                                                                        SAF078460
                                                                                                Street Address
                                                                                                    6336 Franklin Trail Dr

                                                                                                City, State, Zip                                                                  Phone
                                                                                                    El Paso, TX 79912-8154                                                            915-383-4604
  Ana Callier
                                                                                                Year         Make             Model                        VIN
  6336 Franklin Trail Dr
                                                                                                    2013         LEXUS        RX360                          2128K1BA900169619
  El Paso, TX 79912-8154
                                                                                                Odometer                     Vehicle Pchase Price          ContractPurthase Date       Vehicle Class
                                                                                                    45,883                                                         1212712019           2
  Congratulations! Your valuable mechanical breakdown protection is detailed in the             Seller/Dealer/Vendor Name                                                               l.D.
  enclosed contract booklet. Please look it over and call with any questions you may have. ;        NATIONAL CAR CURE                                                                        NCC461O
  Thank you for your purchase; we look forward to servicing your protection needs. Please
  call us for a quote on any other vehicle in your household. Vehicles under 150,000 mfleS?
                                                                                                Address
                                                                                                    1665 Palm Beach Lakes Blvd., #215
  may qualify for additional coverages, and multi-vehicle discounts are available,
                                                                                                City, State, Zip                                                                  Phone
  Be sure to familiarize yourself with the coverage, maintenance req uirements      an            West Palm Beach, FL 33401                                                            800-261-0096
  procedures in the event of a mechanical breakdown. Proper maintenance of your vehlc
                                                                                                FIane Company                                                                     Payment Terms
  will contribute to a trouble free driving experience. You should follow your vehic
                                                                                                    $unslrnp INSTALLMEI41      AREt1E4T
  manufacturer's recommended maintenance for your driving habits.
                                                                                                Plan Name
  We encourage you to store your new service agreement in your vehiàle. This docume               Sunpath Secure Adv Platinum New
  contains important numbers needed in the event of a breakdown.                                Plan Term                                                  Plan Code                   Deductible
                                                                                                       Months 60                 Miles 100,000              SPSAPN                      $100.00
  Welcome to our family of vehicle owners that have the peace of mind and financIal
                                                                                                *   Validation Period                 Surcharges
  security of mechanical breakdown protection.
                                                                                                    30 days and 1,000 miles             4WD

                                                                                                Contract Purchase Price               Options **
  THANK YOUAGAINI                                                                                   $3338.00

                                                                                               The purchase of this contract is not required to either obtain l9nancing or to purchase the motor
 C%ík &a4                                                                                      vehicle. You have the right to transfer this Service Contract on the specified vehicle only to a
                                                                                               subsequent private owner. Refer to the Transfer provision.
  Protection Specialist                                                                        The undersigned purchaser of this Contract achnowledges that parts and labor benefits are
                                                                                               subject to the validation period stated above PER PHONE
                                          IMPORTANT CONTACT NUMBERS:
                                                                                                                                                                                                            Case 3:20-cv-00023-KC Document 1 Filed 01/24/20 Page 15 of 16




                                                                                                Certification: The undersigned Purchaser of this Service Contract has selected the above
                                          Claims: 888-990-7786                                  coverage and options and understands that depending upon the coverage plan selected that
                                                                                                parts and labor benefits are subject to the validations stated above. I agree that I have read
                                          Roadside: 888-878-8259                                and understand the above Contract provisions and implied warranty disclosure.

                                                                                                    12/27/2019      PER PHONE                                          Christopher Bowling
                                                                                                    Date            Service Contract Purchaser Signature         Seller/Dealer/Vendor Representative


                                    -        *           It                                                                                                                                            Dl
                                                 k                              WSTDO                NWS-SP-$A-PLATINIJM (12-13)
                             Administered by: SunPath Ltd.
                                  Administrative Office:
                                                                                                                       :
                             25 l3raintree Hill Parh, Suite 100
                                   Braintree, MA 02184
                                      (888) 990-7786
                                                                                   This SERVICE CONTRACT is an agreement between YOU and US. WE.
                This Contract is between You, the Purchaser and                    US, OUR and PROVIDER refer to Northcoast Warranty Services, Inc.,
             Northcoast Warranty Services, Inc., the Provider/Obligor.             who is the party responsible to YOU for the benefits under this
                          800 Superior Avenue E., 2l       Floor                   SERVICE CONTRACT, except in any states where required by law,
                                   Cleveland, OH 44114                             where WE, US, OUR and PROVIDER mean the DEALER from whom
                                     (866) 927-3097                                YOU purchased or leased the VEHICLE described on the
                                                                                   DECLARATION PAGE. YOU, YOUR and CONTRACT HOLDER refers to
 In Florida, the   Provider/Obligor and Administrator is SunPath LTD Corp. d/b/a   YOU, the purchaser of this SERVICE CONTRACT and the Vehicle
                           SunPath LTD Corp. of Delaware                           described in the DECLARATION PAGE of this SERVICE CONTRACT.
                         FL License #19943, (888) 990-7786
                                                                                   WE have contracted with SunPath, Ltd., 25 Braintree Hill Parh, Suite
                                                                                   100, Braintree, MA 02184, 888-990-7786, hereinafter referred to as
                                                                                   ADMINISTRATOR, to administer this SERVICE CONTRACT. All
                                                                                   inquiries should be directed to the ADMINISTRATOR. Toll-free
                                                                                   assistance is available at 888-990-7786.
                                                                                   In Florida this SERVICE CONTRACT is between YOU and SunPath LTD
                                                                                   Corp. d/b/a SunPath LTD Corp of Delaware, Florida Certificate of
                                                                                   Authority No.: 19943. SunPath LTD Corp. d/b/a SunPath LTD Corp of
                                                                                   Delaware is also the SERVICE CONTRACT ADMINISTRATOR and
                                                                                   handles all administrative functions of this SERVICE CONTRACT. All
                                                                            'I     inquiries should be directed to SunPath LTD Corp. of Delaware at 888-
                                                                                   990-7786.



                                                                                             AUTHORIZED REPAIR(S), APPROVED REPAIR(S): All repairs must be
                                                                                             approved and authorized by the ADMINISTRATOR as a condition
                                                                                             of COVERAGE. Repairs performed without the prior approval or
                                                                                             authorization from the ADMINISTRATOR will not be covered, except
                                                                                             as provided for under Emergency Repairs.
                                                                                             BREAKDOWN, MECHANICAL         BREAKDOWN, MECHANICAL FAILURE:
                                                                                             Defects in materials and worhmanship of a COVERED PART to
                                                                                             perform the function for which it was designed by its manufacturer.
                                                                                             COVERAGE: The coverage afforded to YOU for YOUR VEHICLE is
                                                                                                                                                                   Case 3:20-cv-00023-KC Document 1 Filed 01/24/20 Page 16 of 16




                                                                                             determined by the PLAN TYPE selected on the DECLARATION
                                                                                             PAGE and more fully described in the PLAN COVERAGE section of
                                                                                             this SERVICE CONTRACT.
                                                                                             COVERED PART(S): Parts or components listed under the PLAN
                                                                                             COVERAGE and subject to YOUR responsibilities for VEHICLE
                                                                                             maintenance under the YOUR OBLIGATIONS section and subject
                                                                                              to conditions described under "EXCLUSIONS".

NWS-SP-$A-PLATINUM (12.13)                                                         NWS-SP-SA-PLATINUM (12.13)
                                                                             I
